                Case:
ILND 450 (Rev. 10/13)    1:17-cv-01171
                      Judgment in a Civil Action   Document #: 61 Filed: 08/15/19 Page 1 of 1 PageID #:566

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

FLAVA WORKS, INC.,

Plaintiff(s),
                                                                    Case No. 17 C 1171
v.                                                                  Judge Robert W. Gettleman

MARQUES RONDALE GUNTER, d/b/a
myVidster.com, SALSAINDY, LLC, d/b/a
myVidster.com,

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


             in favor of defendant(s) Marques Rondale Gunter, d/b/a myVidster.com, Salsaindy, LLC, d/b/a
myVidster.com
             and against plaintiff(s) Flava Works, Inc.

          Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

     tried by a jury with Judge      presiding, and the jury has rendered a verdict.
     tried by Judge      without a jury and the above decision was reached.
     decided by Judge Robert W. Gettleman on a motion.

Date: 8/15/2019                                                  Thomas G. Bruton, Clerk of Court

                                                                 Claire E. Newman, Deputy Clerk
